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UNITED STATES DISTRICT COURT
SOUTPIERN DISTRICT OF NEW YORK
                                                       -X



 UNITED STATES OF AMERICA,                                       CONSENT TO PROCEED BY
                                                                 VIDEO OR TELE CONFERENCE
                      -against"


Fred Mastroairmi                                                        C?-S70
                                                                 20-mJ-l^®^
                      Defendant(s).
                                                      -X



Defendant Fred Mastromnni hereby voluntarily consents to participate in the following
proceeding via ^ videoconferencing or ^ teleconferencing:

       Initial Appearance Before a Judicial Officer


D Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
      Indictment Form)

D Guilty Plea/Change of Plea Hearing

D Bail/Detention Hearing

a Conference Before a Judicial Officer - Assignment of Counsel




_f_5 I ^^ ^L^frD^At'                                           .€^^ /r>
Defendant's Signature^ /^o^/' S^''J^~N                Defendant's CounseFs Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

                                                            ^r^<- / -
Print Defendant's Name                                Print Counsel s Name



This proceejdmg was conducted by reliable video or telephone referencing te<

  /0/16/W
Date' l                                               U.S. District Juc^e/U.S. Magistrate Judge
